                                                                                        i. .   3 0 2020
                              UNITED STATES DISTRICT COURT
                                                                                  ,:; t rK, U.S. District Court
                             EASTERN DISTRICT OF TENNESSEE                      ~dstern District of Tennessee
                                    AT GREENEVILLE                                     At Greeneville

  UNITED STATES OF AMERICA                        )
                                                  )           No.   J: ?o -- c.Y---\\\ __
          V.                                      )
                                                  )
  MIHIR TANEJA                                    )


                                       PLEA AGREEMENT

         The United States of America, by the United States Attorney for the Eastern District of

 Tennessee ("USATNE"), the United States Depa1iment of Justice, Consumer Protection Branch

 ("USDOJ-CPB"), the defendant, MIHIR TANEJA, and the defendant's attorneys, A . Lee

 Bentley III, Jason P. Mehta, and David Rivera, have agreed upon the following :

         l.     The defendant will waive indictment and arraignment and plead guilty to an

 information charging the defendant with the following offense:

                (a)     Count One - Introduction of Misbranded Drugs into Interstate Commerce

 with the Intent to Defraud and Mislead: The defendant, with the intent to defraud and mislead,

 introduced, delivered, and caused to be introduced and delivered, into interstate commerce from

 Florida to the Eastern District of Tennessee, Cifrazol 3, 775-1 mg cap (69336-0310-30), a drug

 that was misbranded in that its labeling was false and misleading in any patiicular and was

 dispensed without a valid prescription of a practitioner licensed by law to administer such drug

 and contrary to the provisions of 21 U.S.C. § 353(b)(l), all in violation of 21 U.S.C. §§ 33l(a),

 352(a)(l), 353(b)(l), and 333(a)(2). The maximum punishment for this offense is three (3)

 years' imprisonment, a $10,000 fine, one (1) year supervised release, and a $100 mandatory

 assessment.

        2.      In consideration of the defendant's guilty plea:

                                            Page 1 of 18
 Defendant's Initials   MT

Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 1 of 18 PageID #: 4
                 (a)      USATNE agrees not to further prosecute the defendant in the Eastern

  District of Tennessee for any other non-tax criminal offenses committed by the defendant that

  are related to the charges contained in the information in this case and that are known to

  USA TNE at the time this plea agreement is signed by both parties.

                 (b)     USDOJ-CPB agrees not to further prosecute the defendant in any district

  in the United States for any other non-tax criminal offenses committed by the defendant that are

  related to the charges contained in the information in this case and that are known to USDOJ-

  CPB at the time this plea agreement is signed by both parties.

         3.      The defendant has read the information, discussed the charge and possible

  defenses with defense counsel, and understands the crime charged.

         4.      In support of the defendant' s guilty plea, USATNE, USDOJ-CPB, and the

  defendant agree and stipulate to the following facts, which satisfy the offense elements. These

 are the facts submitted for purposes of the defendant' s guilty plea. They do not necessarily

 constitute all of the facts in the case. Other facts may be relevant to sentencing. The defendant,

  USA TNE, and USDOJ-CPB retain the right to present additional facts to the Court to ensure a

 fair and appropriate sentence in this case.

                 (a)     From no later than in or around the summer of2015 through on or about

 April 1, 2018, the defendant distributed misbranded prescription drugs in interstate commerce,

 including by causing to be mailed from Florida to the Eastern District of Tennessee, in

 fmtherance of a conspiracy to knowingly and intentionally defraud health care benefit programs.

                 (b)     As fmther explained herein, the defendant knowingly and intentionally

 caused misbranded drugs to be distributed in interstate commerce in furtherance of a conspiracy

 with HealthRight LLC, Scott Roix, Lany Everett Smith, Alpha-Omega Pharmacy LLC ("Alpha-


                                               Page 2 of 18
 Defendant' s Initials   /V\T

Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 2 of 18 PageID #: 5
  Omega"), Germaine Pharmacy Inc. ("Germaine"), ERX Consultants LLC dba Zoetic Pharmacy

  ("Zoetic"), Tanith Enterprises LLC ("Tanith"), ULD Wholesale Group ("ULD"), Arun Kapoor,

  Sterling Knight Pharmaceuticals LLS ("Sterling Knight"), Andrew Assad, Peter Bolos, Michael

  Palso, and Synergy Pharmacy Services Inc. ("Synergy").

                 (c)      As further explained herein, the defendant knew and intended that this

  scheme to distribute misbranded prescription drugs in interstate commerce entailed: (i) deceiving

  patients into providing their insurance information to HealthRight; (ii) deceiving HealthRight

  doctors into writing prescriptions for products the patients didn't want and hadn't requested; (iii)

  purchasing those prescriptions from Scott Roix; (iv) disguising the payments for those

  prescriptions as though they were payments for marketing services; (v) repackaging non-

  prescription vitamins as though they were prescription drugs; (vi) making fraudulent

  misrepresentations to the Food and Drug Administration ("FDA") regarding Durachol and

  Cifrazol; (vii) making fraudulent misrepresentations to Medispan and First Databank; (viii)

  mailing misbranded prescription drugs and vitamin products disguised as prescriptions drugs;

 and (ix) submitting fraudulent claims for payments for those misbranded prescriptions to health

 care benefit programs.

                 (d)     The deceived health care benefit programs include the pharmacy benefit

 managers ("PBMs") CVS Caremark, Express Scripts, Medimpact, Prime Therapeutics, and

 others.

                 (e)     During the time period of this conspiracy, the defendant, together with

 Arun Kapoor, operated Sterling Knight as a "vi1tual manufacturer" to label and distribute

 prescription drugs and other products manufactured by third parties.




                                             Page 3 of 18

 Defendant's Initials    fV\1
Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 3 of 18 PageID #: 6
                 (f)     Among other products, the defendant and Kapoor used Sterling Knight to

  label and package several products, including Fenortho 200 mg capsules (NOC: 69336-0113-10),

 Lidopril (69336-08-2501), Lidopril XR (NOC: 69336-0826-01), Lidocaine 5% (NOC: 69336-

 0 l 03-35), Durachol (69336-03-0030), and Cifrazol (69336-03-1030).

                 (g)     Fenortho, Lidopril, Lidopril XR, and Lidocaine were all prescription

 "drugs" as that term is defined in 21 U.S.C. § 32l(g)(l). In particular, they were (A) articles

 recognized in the official United States Pharmacopoeia, official Homoeopathic Pharmacopoeia

 of the United States, or official National Formulary, or any supplement to any of them; or

 (B) articles intended for use in the diagnosis, cure, mitigation, treatment, or prevention of disease

 in man or other animals; or (C) articles (other than food) intended to affect the structure or any

 function of the body of man or other animals; or (D) articles intended for use as a component of

 any article specified in clause (A), (B), or (C).

                 (h)    Durachol and Cifrazol were not prescription drugs, but were instead non-

 prescription vitamin capsules containing 1 mg offolic acid and 3,775 units of Vitamin D. The

 defendant, Kapoor, and Sterling Knight bought millions of these vitamin capsules from a

 manufacturer that was not licensed by the FDA to manufacture drugs.

                (i)     The defendant and Kapoor then repackaged these non-prescription

 vitamins as prescription-only drugs, assigned them a national drug code ("NOC"), branded them

 with the Sterling Knight label and the brand names "Durachol" and "Cifrazol", and bottled them

 in 30-count bottles, with the intent to sell them to wholesalers and pha1macies as though they

 were prescription drugs, knowing that those pharmacies would then bill them to PB Ms as though

 they were prescription drugs.




                                             Page 4 of 18
 Defendant's Initials   l"\T

Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 4 of 18 PageID #: 7
                 G)        The defendant and Kapoor fraudulently registered Durachol and Cifrazol

  as prescription drugs with the FDA, First Databank, and Medispan, even though they knew that

  these products were not prescription drugs. Doing this was essential in order to increase the

  likelihood that the PBMs would pay for them.

                 (k)       The defendant and Kapoor then used Sterling Knight to sell thousands of

  bottles of Durachol and Cifrazol to Smith and his wholesaler, ULD Wholesale, knowing that

  Smith would dispense them to patients throughout the United States, including in the Eastern

  District of Tennessee.

                 (I)       Beginning in or around the summer of 2016, the defendant agreed with

  Larry Smith and Scott Roix that Scott Roix would use the HealthRight telemarketing platform to

  obtain thousands of electronic prescriptions for the products distributed by the defendant and

 Kapoor through Sterling Knight, specifically Fenortho, Lidopril, Lidopril XR, Lidocaine,

 Durachol, and Cifrazol.

                 (m)       Scott Roix then obtained thousands of those prescriptions by using

 HealthRight's telemarketing platform to deceive patients into providing their personal

 prescription insurance information to HealthRight, including attracting potential patients by

 placing fraudulently misleading ads on various internet sites and social media platforms.

                 (n)       Roix then sold those fraudulent prescriptions to Larry Smith for

 approximately $500 for each of those prescriptions.

                (o)        The defendant and Larry Smith knew that it was unlawful to purchase

 prescriptions. As such, the defendant knew that Larry Smith, and Scott Roix disguised their

 arrangement by signing a fraudulent "marketing agreement" pursuant to which Alpha-Omega,




                                              Page 5 of 18
 Defendant's Initials   i"\T

Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 5 of 18 PageID #: 8
  Gennaine, and Zoetic agreed to pay HealthR.ight for "marketing services", but not for

  prescriptions.

                   (p)    At all times while engaging in conduct in furtherance of the conspiracy,

  the defendant and Larry Smith knew that Scott Roix was providing signed doctors' prescriptions

  to Alpha-Omega, Germaine, and Zoetic for Sterling Knight's products -Feno1tho, Lidopril,

  Lidopril XR, Lidocaine, Durachol, and Cifrazol - even though: (i) the patients were rarely

  speaking with the prescribing doctors; (ii) the patients had no pre-existing relationship with the

 prescribing doctors; (iv) the prescriptions that resulted from Roix's and HealthRight's

 telemarketing platform were not issued pursuant to a valid doctor-patient relationship; and (v)

 the patients didn't know they would be receiving prescriptions in the mail.

                   (q)   After arranging for the purchase of prescriptions from Scott Roix, the

 defendant and Larry Smith needed a way to bill the PBMs for these prescriptions.

                   (r)   On July 7, 2016, May 26, 2017, and July 3 2017, the defendant and Larry

 Smith arranged for trusted confederates - in particular three men whose initials are B.H., S.C.,

 and K.C. - to purchase Alpha-Omega, Germaine, and Zoetic using money borrowed from a

 financial institution pursuant to personal guarantees from the defendant and Smith.

                   (s)   The defendant and Smith arranged for this "straw ownership" because

 they knew that the PB Ms would terminate their contracts with Alpha-Omega, Germaine, and

 Zoetic - thereby eliminating their ability to bill for prescriptions - if they knew that the

 defendant and Smith owned and controlled them. The defendant and Smith knew this because,

 prior to the conspiracy, Smith owned a pharmacy that was investigated for fraud, some of the

 PBMs, including Express Scripts, found out about the investigation, and terminated that prior




                                             Page 6 of 18
 Defendant's Initials    fV\T

Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 6 of 18 PageID #: 9
  pharmacy. The defendant knew that Smith controlled the day-to-day operations of Alpha-

  Omega, Germaine, and Zoetic using Smith's company, Tanith.

                  (t)     The defendant and Larry Smith also agreed that the defendant would

  provide Fenortho, Lidopril, Lidopril XR, Lidocaine, Durachol, and Cifrazol to Larry Smith so

  that he had a product to dispense to the deceived patients after buying corresponding fraudulent

  prescriptions from Scott Roix.

                 (u)      The defendant and Kapoor caused Sterling Knight to sell Fenortho,

  Lidopril, Lidopril XR, Lidocaine, Durachol, and Cifrazol to Larry Smith's company, ULD

  Wholesale, knowing that Smith then mailed these products from Alpha-Omega, Germaine, and

  Zoetic to patients throughout the United States, even though these prescriptions were not issued

  pursuant to a valid doctor-patient relationship and even though the patients didn't know they

  were going to receive prescriptions in the mail.

                 (v)      The defendant knew that Larry Smith, through Tanith, caused Alpha-

  Omega, Germaine, and Zoetic to fraudulently bill the PBMs for the prescriptions purchased from

  Scott Roix for Fenortho, Lidopril, Lidopril XR, Lidocaine, Durachol, and Cifrazol, even though

  these prescriptions were not issued pursuant to a valid doctor-patient relationship.

                 (w)     The defendant, Kapoor, Sterling Knight, and Smith also knew that when

  billing the PBMs for prescriptions, Alpha-Omega, Germaine, and Zoetic were required to collect

  patient copays, and that if they weren't able to do so, the PBMs would terminate those

  pharmacies' ability to bill for prescriptions. However, the defendant, Kapoor, Sterling Knight,

  and Smith also knew that the patients would not actually pay the copays because the vast

  majority didn't actually want to receive, or didn't know that they were going to receive,

  prescriptions for Fenortho, Lidopril, Lidopril XR, Lidocaine, Durachol, and Cifrazol.


                                             Page 7 of 18
  Defendant's Initials   f"J\T

Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 7 of 18 PageID #: 10
                  (x)    To address this problem, the defendant and Kapoor agreed with Smith to

  make it appear as though Sterling Knight paid a "manufacturers' coupon" for the full amount of

  each patient copay for the thousands of prescriptions purchased from Roix. The defendant and

  Kapoor caused Sterling Knight to establish a relationship with a third-patty manufacturers'

  coupon rebate facilitator called AlphaScrip. AlphaScrip was already in the business of

  processing legitimate manufacturers' coupons on behalf of pharmaceutical manufacturers and

  paying the proceeds obtained from the manufacturers to pharmacies that were able to submit the

  manufacturers' coupon.

                 (y)     In a bona.fide manufacturers' coupon: (i) the patients bring the coupon to

  the pharmacy, having obtained it directly from a doctor or the manufacturer; (ii) the pharmacy

  submits an electronic claim to AlphaScrip with the presented coupon code; (iii) AlphaScrip

  cross-references the coupon code with its list of enrolled pharmaceutical manufacturers to

  determine how much to pay the pharmacy for the copay coupon; (iv) AlphaScrip then pays the

  coupon amount to the pharmacy with a remittance indicating that the payment is for the patients'

  copay; and (v) AlphaScrip then collects that copay coupon amount from the manufacturer, which

  bears the economic cost of the copay coupon.

                 (z)     In this situation, however, as the defendant, Kapoor, Sterling Knight, and

  Smith knew, the patients never knew about any coupon, never spoke to a doctor, never heard of

  Sterling Knight, and never presented anything to Alpha-Omega, Germaine, or Zoetic. Moreover,

  Smith's pharmacies (Alpha-Omega, Germaine, and Zoetic) not the manufacturer (Sterling

  Knight) funded the entirety of the copay coupon, a direct and intentional fraud upon the PBMs.

                 (aa)    The defendant and Kapoor provided Sterling Knight's AlphaScrip coupon

  code directly to Smith who, in turn, caused Alpha-Omega, Germaine, and Zoetic to submit


                                             Page 8 of 18
  Defendant's Initials   MT

Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 8 of 18 PageID #: 11
  claims for the manufacturers' coupon to AlphaScrip for essentially every single prescription

  purchased from Roix. AlphaScrip processed those coupons, obtained reimbursement from

  Sterling Knight, and paid the resulting amount to the submitting pha1macy - Alpha-Omega,

  Germaine, and Zoetic.

                 (bb)     But, although Sterling Knight sent money to AlphaScrip, it didn't actually

  bear the economic cost of that payment. Instead, the defendant and Kapoor, upon receiving

  invoices from AlphaScrip, simply forwarded those invoices to Smith and told him to pay them,

  which Smith did using the money he extracted from Alpha-Omega, Germaine, and Zoetic' s bank

  accounts.

                 (cc)     Thus, the defendant and Kapoor caused Sterling Knight to help Smith

  launder money from Smith's pharmacies, through Sterling Knight and AlphaScrip, back to

  Smith's pharmacies, all for the purpose of obtaining the remittance indicating that the patients'

  copays had been paid, which was false. This was done for the purpose of deceiving the PBMs

  into believing that the patients copays had been paid, which was false.

                 (dd)     In sum, as the defendant knew and intended, Smith's pharmacies paid the

  patients' copays to themselves, as there was no economic substance to Sterling Knight's

  involvement in the process- its only purpose being to disguise the nature and origin of the

  payment and to pass it off, falsely, as a bona fide a manufacturer's coupon. During the

  conspiracy, this process was repeated for the full amount of thousands of patient copays for

  prescriptions purchased from Roix.

                 (ee)     From the summer of 2016 through the end of 2017, the defendant and

  Kapoor, through Sterling Knight, continued to sell Fenmtho, Lidopril, Lidopril XR, Lidocaine,

  Durachol, and Cifrazol to Smith, knowing and intending that these products would be dispensed


                                             Page 9 of 18
  Defendant's Initials   I'\T

Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 9 of 18 PageID #: 12
   to patients throughout the United States, even though they were prescribed in the absence of a

   doctor-patient relationship.

                  (ff)    In particular, on or about September 19, 2017, the defendant, Kapoor, and

   Sterling Knight, with the intent to defraud and mislead, introduced, delivered, and caused to be

   introduced and delivered, into interstate commerce from Florida to the Eastern District of

   Tennessee, Cifrazol 3,775-lmg cap (69336-0310-30), a drug that was misbranded in that its

   labeling was false and misleading in any paiiicular (including, without limitation, in that it stated

   falsely that the product could only be taken pursuant to a prescription) and was dispensed to

   patient B.N. without a valid prescription of a practitioner licensed by law to administer such drug

   contrary to the provisions, which Alpha-Omega billed fraudulently to CVS Caremark and for

   which CVS Caremark paid Alpha-Omega approximately $1 ,464.

                  (gg)    The defendant, together with Arun Kapoor, also caused Sterling Knight to

   sell Fenotiho, Lidopril, Lidopril XR, Lidocaine, Durachol, and Cifrazol and other products to

   Synergy (on behalf of Andrew Assad, Peter Bolos, and Michael Palso), which the defendant and

  Kapoor knew bought fraudulent prescriptions from Scott Roix and HealthRight.

                  (hh)    The defendant understood that health care benefit programs, as defined by

   I 8 U .S.C. § 24(6), would reimburse for prescriptions pursuant to this scheme. Private insurance

  companies and self-insured groups are health care benefit programs. However, the defendant

  intended that no "federal health care program," as defined by 42 U.S.C. § 1320a-7b(f), would

  reimburse for Fenortho, Lidopril, Lidopril XR, Lidocaine, Durachol, and Cifrazol or other

  Sterling Knight products. Because the defendant knew that the federal government imposed

  stricter regulatory requirements and had greater oversight than private health care benefit

  programs, the defendant went to lengths to ensure that no representations or claims were made to


                                              Page 10 of 18
  Defendant's Initials   MT

Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 10 of 18 PageID #: 13
   federal health care programs by himself, Sterling Knight, Alpha-Omega, Germaine, or Zoetic in

   connection with this scheme. In reality, federal health care programs made only modest and

   insubstantial payments to Alpha-Omega, Germaine, and Zoetic for Sterling-Knight products as

   part of this scheme. USATNE and USDOJ-CPB are unaware of any statements or claims made

   by the defendant or Sterling Knight to any federal health care program in connection with this

   scheme. The defendant does not have any knowledge as to whether or not Andrew Assad, Peter

   Bolos, Michael Palso, Synergy, or Precision took any steps to prevent claims from being

   submitted to federal health care benefit programs as pait of this scheme.

                  (ii)   As a result of billing the PBMs for misbranded prescription drugs, the

  defendant and his co-conspirators, caused an actual loss to the pharmacy benefit managers in the

  amount of $20,981,786. This is the full amount that the PBM's paid to all pharmacies for invalid

  prescriptions purchased from Scott Roix and HealthRight for products manufactured or

  distributed by the defendant's company, Sterling Knight.

                  Uj)    The defendant knew that had the PBMs not been defrauded in the various

  ways described in this plea agreement, they would not have paid for claims for payment

  submitted by the pharmacies for prescriptions that were written in the absence of a valid doctor-

  patient relationship (including in the absence of any real communication between the prescribing

  doctor and the patient), for products that had been misbranded and fraudulently packaged as

  prescription drugs, and dispensed to patients who were deceived into providing their insurance

  information and who didn't want such products in the first place.

          5.     The defendant is pleading guilty because the defendant is in fact guilty. The

  defendant understands that, by pleading guilty, the defendant is giving up several rights,

  including:


                                             Page 11 of 18
  Defendant's Initials   MT

Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 11 of 18 PageID #: 14
                  (a)     the right to have his case presented to a grand jury for these crimes;

                  (b)    the right to plead not guilty;

                  (c)    the right to a speedy and public trial by jury;

                  (d)    the right to assistance of counsel at trial;

                  (e)    the right to be presumed innocent and to have the burden of proof placed

   on the United States to prove the defendant guilty beyond a reasonable doubt;

                  (t)    the right to confront and cross-examine witnesses against the defendant;

                  (g)    the right to testify on one's own behalf, to present evidence in opposition

   to the charges, and to compel the attendance of witnesses; and

                  (h)    the right not to testify and to have that choice not used against the

   defendant.

          6.      The patties agree that the appropriate disposition of this case would be the

  following as to Count One:

                 (a)     The Court may impose any lawful te1m of imprisonment, any lawful fine,

  and any lawful term of supervised release up to the statutory maximum.

                 (b)     The Court will impose special assessment fees as required by law; and

                 (c)     The Comt may order forfeiture as applicable and restitution as appropriate

  (see paragraph 9).

                 (d)     No promises have been made by any representative of USA TNE or

  USDOJ-CPB to the defendant as to what the sentence will be in this case. Any estimates or

  predictions made to the defendant by defense counsel or any other person regarding any potential

  sentence in this case are not binding on the Comt, and may not be used as a basis to rescind this

  agreement or withdraw the defendant's guilty plea. The defendant understands that the sentence


                                             Page 12 of 18
  Defendant's Initials   MT

Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 12 of 18 PageID #: 15
   in this case will be determined by the Court after it receives the presentence investigation report

   from the United States Probation Office and any information presented by the parties. The

   defendant acknowledges that the sentencing determination will be based upon the entire scope of

   the defendant's criminal conduct, the defendant's criminal history, and pursuant to other factors

   and guidelines as set fmth in the Sentencing Guidelines and the factors set forth in 18 U .S.C. §

   3553.

           7.     Given the defendant's agreement to plead guilty, USA TNE and USDOJ-CPB will

   not oppose a two-level reduction for acceptance of responsibility under the provisions of§

   3El.l(a) of the Sentencing Guidelines. Further, if the defendant's offense level is 16 or greater,

   and the defendant is awarded the two-level reduction pursuant to § 3El . l (a), USA TNE and

   USDOJ-CPB agree, at or before the time of sentencing, to move the Court to decrease the

   offense level by one additional level pursuant to§ 3El.l(b) of the Sentencing Guidelines.

   Should the defendant engage in any conduct or make any statements that are inconsistent with

   accepting responsibility for the defendant's offense, including violations of conditions of release

   or the commission of any additional offense(s) prior to sentencing, USA TNE and USDOJ-CPB

  will be free to decline to make such motion, to withdraw that motion if already made, and to

  recommend to the Court that the defendant not receive any reduction for acceptance of

  responsibility under§ 3El.1 of the Sentencing Guidelines.

           8.     The defendant agrees to pay the special assessment in this case prior to

  sentencing.

           9.     The defendant agrees that the Court shall order restitution, pursuant to any

  applicable provision of law, for any loss caused to: (1) the victims of any offense charged in this

  case; and (2) the victims of any criminal activity that was patt of the same course of conduct or


                                             Page 13 of 18
  Defendant's Initials   MT

Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 13 of 18 PageID #: 16
   common scheme or plan as the defendant's charged offense. Pursuant to Rule l l(c)(l)(B) of the

   Federal Rules of Criminal Procedure, the parties agree to recommend that the defendant be

   responsible, jointly and severally with Sterling Knight and Arun Kapoor, for restitution in the

   amount of $20,981,786, which is the full amount that the PBM's paid to all pharmacies for

   invalid prescriptions purchased from Scott Roix and HealthRight for products manufactured or

   distributed by the defendant's company, Sterling Knight. The proposed restitution amounts

   described in this paragraph correspond to actual losses sustained by the health care benefit

  programs and their agents, the PBMs, as a result of the defendant's actions described in this plea

   agreement.

          10.     The defendant agrees to pay all fines and restitution imposed by the Court to the

   Clerk of Court. The defendant also agrees that the full fine and/or restitution amount(s) shall be

  considered due and payable immediately. Notwithstanding any provision of this agreement to

  the contrary, the defendant agrees to pay, or to cause Sterling Knight to pay, the full amount of

  restitution to the Court, at or before sentencing. If the defendant cannot pay the full amount

  immediately and is placed in custody or under the supervision of the Probation Office at any

  time, the defendant agrees that the Bureau of Prisons and the Probation Office will have the

  authority to establish payment schedules to ensure payment of the fine and/or restitution. The

  defendant further agrees to cooperate fully in effo1ts to collect any financial obligation imposed

  by the Comt by set-off of federal payments, execution on non-exempt prope1ty, and any other

  means the United States deems appropriate. The defendant and counsel also agree that the

  defendant may be contacted post-judgment regarding the collection of any financial obligation

  imposed by the Comt without notifying the defendant's counsel and outside the presence of the

  defendant's counsel. In order to facilitate the collection of financial obligations to be imposed


                                             Page 14 of 18
  Defendant's Initials   /V\T

Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 14 of 18 PageID #: 17
   with this prosecution, the defendant agrees to disclose fully all assets in which the defendant has

   any interest or over which the defendant exercises control, directly or indirectly, including those

   held by a spouse, nominee, or other third party. In the event that the defendant fails to fulfill any

   financial obligation under this agreement in a timely fashion, the defendant additionally agrees to

   the following specific terms and conditions:

                  (a)     If so requested by USA TNE or USDOJ-CPB, the defendant will promptly

   submit a completed financial statement to USA TNE and USDOJ-CPB, in a fonn it or they

   provide and as it or they direct. The defendant promises that such financial statement and

   disclosures will be complete, accurate, and truthful.

                  (b)     The defendant expressly authorizes USA TNE and USDOJ-CPB to obtain

   a credit report on the defendant in order to evaluate the defendant's ability to satisfy any

   financial obligation imposed by the Court.

                  (c)     If so requested by USATNE or USDOJ-CPB, the defendant will promptly

   execute authorizations on forms provided by USA TNE and USDOJ-CPB to permit USA TNE

  and USDOJ-CPB to obtain financial and tax records of the defendant.

          11.     The defendant acknowledges that the principal benefits to USA TNE and USDOJ-

  CPB of this agreement include the conservation of limited government resources and bringing a

  ce1tain end to the case. Accordingly, in consideration of the concessions made by USA TNE and

  USDOJ-CPB in this agreement and as a fu1ther demonstration of the defendant's acceptance of

  responsibility for the offense committed, the defendant voluntarily, knowingly, and intentionally

  agrees to the following:

                  (a)     The defendant will not file a direct appeal of the defendant's conviction or

  sentence with one exception: The defendant retains the right to appeal a sentence imposed above


                                              Page 15 of 18
  Defendant's Initials   f"\1

Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 15 of 18 PageID #: 18
   the sentencing guideline range dete1mined by the Court or above any mandatory minimum

   sentence deemed applicable by the Court, whichever is greater. The defendant also waives the

   right to appeal the Cami's determination as to whether the defendant's sentence will be

  consecutive or partially concurrent to any other sentence.

                   (b)    The defendant will not file any motions or pleadings pursuant to 28 U.S.C.

  § 2255 or otherwise collaterally attack the defendant's conviction or sentence, with two

  exceptions: The defendant retains the right to file a § 2255 motion as to (i) prosecutorial

  misconduct and (ii) ineffective assistance of counsel.

                   (c)    The defendant will not, whether directly or by a representative, request or

  receive from any department or agency of the United States any records pertaining to the

  investigation or prosecution of this case, including, without limitation, any records that may be

  sought under the Freedom ofJnformation Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5

  U.S.C. § 552a.

          12.      This plea agreement becomes effective once it is signed by the parties and is not

  contingent on the defendant's entry of a guilty plea. The defendant's signature on this plea

  agreement constitutes the defendant's admission that the facts contained herein are true and

  accurate. If USA TNE or USDOJ-CPB violate the terms of this agreement, the defendant will

  have the right to withdraw from this agreement. If the defendant violates the terms of this

  agreement in any way (including, without limitation, by failing to enter a guilty plea as agreed

  herein, moving to withdraw guilty plea after entry, or by violating any cou1t order or any local,

  state, or federal law pending the resolution of this case), then USA TNE or USDOJ-CPB will

  have the right to void any or all parts of the agreement and may also enforce whatever patts of

  the agreement it chooses. In addition, USA TNE or USDOJ-CPB may prosecute the defendant


                                             Page 16 of 18
  Defendant's Initials   f'l\T

Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 16 of 18 PageID #: 19
   for any and all federal crimes that the defendant committed related to this case, including any

   charges that were dismissed and any other charges that USATNE and USDOJ-CPB agreed not to

   pursue. The defendant expressly waives any statute of limitations defense and any constitutional

   or speedy trial or double jeopardy defense to prosecution for the conduct contemplated by this

   agreement. The defendant also understands and agrees that a violation of this agreement by the

   defendant does not entitle the defendant to withdraw the defendant' s guilty plea in this case.

           13.    The United States will file a supplement in this case, as required in every case by

   the Local Rules of the United States District Court for the Eastern District of Tennessee, even

   though there may or may not be any additional terms . If additional terms are included in the

   supplement, they are hereby fully incorporated herein.

          14.     This plea agreement and supplement constitute the full and complete agreement

  and understanding between the parties concerning the defendant's guilty plea to the above-

   referenced charges, and there are no other agreements, promises, unde1takings, or understandings

   between the defendant and the United States. The parties understand and agree that the terms of

  this agreement can be modified only in writing signed by all of the parties and that any and all

  other promises, representations, and statements whether made before, contemporaneous with, or

  after this agreement, are null and void.


                                               *****




                                             Page 17 of 18
  Defendant's Initials   MT

Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 17 of 18 PageID #: 20
                                             J. DOUGLAS OVERBEY
                                             UNITED STATES ATTORNEY

                                             For USATNE:


                                             By :
     Dafo    /


     Date                                           Mac D. Heavener, Ill
                                                    Assistant United States Attorney



                                             ForUS~
                                                  ~

     Dat~                                           David L. Gunn
                                                    Trial Attorney
                                                    U.S . Department of Justice
                                                    Consumer Protection Branch


                                             For the Defendant:


      November 24, 2020
     Date                                           Mihir Taneja


    • November 24, 2020
     Date                                           ?Z~ey~
                                                    Att"Jt;;,•c the Defen½,lt;:"
     November 24, 2020
     Date                                           Jas    . Mehta
                                                    Att    y for the Defendant

     November 24, 2020
     Date
                                                          IOI~
                                                    David Rivera
                                                                    £v~
                                                    Attorney for the Defendant




                          Signature Page to Mihir Taneja Plea Agreement




Case 2:20-cr-00111-JRG-CRW Document 2 Filed 11/30/20 Page 18 of 18 PageID #: 21
